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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                )
                                         )
                 Plaintiff / Respondent, )
                                         )
      v.                                 )               Case No. 09-20133-05-JWL
                                         )               Case No. 12-2299-JWL
RADELL BRADFORD,                         )
                                         )
                 Defendant / Petitioner. )
                                         )
_______________________________________)


                          MEMORANDUM AND ORDER

       The matter is presently before the Court on defendant Radell Bradford’s pro se

petition to vacate her sentence pursuant to 28 U.S.C. § 2255 (Doc. # 1500) and the

Government’s motion for enforcement of defendant’s plea agreement (Doc. # 1507). For

the reasons set forth below, the Court grants the Government’s motion to enforce

defendant’s plea agreement, and defendant’s petition is therefore dismissed.



       I.     Background

       On March 23, 2011, defendant entered into a plea agreement pursuant to Fed. R.

Crim. P. 11(c)(1)(C) and pleaded guilty to one count of a conspiracy to commit money

laundering in violation of 18 U.S.C. § 1956(h). The plea agreement contained the

following waiver of defendant’s right to appeal or to collaterally attack her sentence:
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              9.      Waiver of Appeal and Collateral Attack. The defendant
       knowingly and voluntarily waives any right to appeal or collaterally attack
       any matter in connection with this prosecution, the defendant’s conviction,
       or the components of the sentence to be imposed herein including the
       length and conditions of supervised release. The defendant is aware that
       Title 18, U.S.C. § 3742 affords a defendant the right to appeal the
       conviction and sentence imposed. By entering into this agreement, the
       defendant knowingly waives any right to appeal a sentence imposed which
       is within the guideline range determined appropriate by the court. The
       defendant also waives any right to challenge a sentence or otherwise
       attempt to modify or change her sentence or manner in which it was
       determined in any collateral attack, including, but not limited to, a motion
       brought under Title 28, U.S.C. § 2255 [except as limited by United States
       v. Cockersham, 237 F.3d 1179, 1187 (10th Cir. 2001)], a motion brought
       under Title 18, U.S.C. § 3582(c)(2) and a motion brought under Fed. R.
       Civ. Pro [sic] 60(b). In other words, the defendant waives the right to
       appeal the sentence imposed in this case except to the extent, if any, the
       court departs upwards from the applicable sentencing guideline range
       determined by the court. However, if the United States exercises its right
       to appeal the sentence imposed as authorized by Title 18, U.S.C. §
       3742(b), the defendant is released from this waiver and may appeal the
       sentence received as authorized by Title 18, U.S.C. § 3742(a).
       Notwithstanding the forgoing [sic] waivers, the parties understand that the
       defendant in no way waives any subsequent claims with regards to
       ineffective assistance of counsel or prosecutorial misconduct.

(First set of brackets in original.) The plea agreement also concluded with the following

provision:

              15.    No Other Agreements. The defendant has had sufficient
       time to discuss this case, the evidence, and this agreement with the
       defendant’s attorney and defendant is fully satisfied with the advice and
       representation provided by defendant’s counsel. Further, the defendant
       acknowledges that she has had the plea agreement read to her, understands
       it and agrees it is true and accurante and not the result of any threats,
       duress or coercion. The defendant further understands that this plea
       agreement supersedes any and all other agreements or negotiations
       between the parties, and that this agreement embodies each and every term
       of the agreement between the parties. The defendant acknowledges that
       the defendant is entering into this agreement and is pleading guilty

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       because the defendant is guilty and is doing so freely and voluntarily.

Defendant also stated in her plea petition that she offered her plea freely and voluntarily.

The Court also confirmed the voluntariness of the plea in its colloquy with defendant at

the plea hearing. In particular, in that colloquy, defendant stated under oath that she

understood that she was waiving any right to appeal or to collaterally attack her sentence;

that no one had coerced her or made any promise or inducement to procure her plea; and

that she was entering a plea of guilty freely and voluntarily and because she was in fact

guilty of the charge. The Court then found that defendant’s plea was knowing and

voluntary.

       The parties’ Rule 11(c)(1)(C) plea agreement called for a sentencing range of 87

to 108 months. At sentencing, the Court determined that the applicable sentencing

guideline would have provided a range of 108 months to 135 months of imprisonment,

but it nonetheless imposed a sentence of 98 months, within the sentencing range agreed

by the parties in the plea agreement.

       Defendant did not file a direct appeal of her conviction or sentence. On May 18,

2012, defendant filed her pro se petition pursuant to Section 2255. As the basis for that

petition, defendant alleged that she received ineffective assistance of counsel as follows:

(1) counsel failed to file a timely notice of appeal despite her request for an appeal; (2)

counsel failed to challenge the amount of loss associated with the offense; (3) counsel

underestimated her sentencing range; and (4) counsel failed “to get proper venue” where

the alleged money laundering took place. In response, the Government has moved for

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enforcement of the waiver in defendant’s plea agreement. Defendant has not filed a

reply in support of her petition or responded to the Government’s motion.



       II.    Analysis

       Section 2255 entitles a prisoner to relief “[i]f the court finds that the judgment

was rendered without jurisdiction, or that the sentence imposed was not authorized by

law or otherwise open to collateral attack, or that there has been such a denial or

infringement of the constitutional rights of the prisoner as to render the judgment

vulnerable to collateral attack.” See 28 U.S.C. § 2255(b). The Court, however, will hold

a defendant and the government to the terms of a lawful plea agreement. See United

States v. Arevalo-Jimenez, 372 F.3d 1204, 1207 (10th Cir. 2004); United States v.

Atterberry, 144 F.3d 1299, 1300 (10th Cir. 1998). Thus, a knowing and voluntary

waiver of Section 2255 rights in a plea agreement is generally enforceable. See United

States v. Cockerham, 237 F.3d 1179, 1181 (10th Cir. 2001). The Tenth Circuit has

adopted a three-pronged analysis for evaluating the enforceability of such a waiver, by

which the district court must determine the following: (1) whether the disputed issue

falls within the scope of the waiver; (2) whether the defendant knowingly and voluntarily

waived the rights; and (3) whether enforcing the waiver would result in a miscarriage of

justice. See United States v. Hahn, 359 F.3d 1315, 1325 (10th Cir. 2004) (en banc) (per

curiam). The Court concludes that such analysis mandates that defendant’s waiver be

upheld and enforced in this case.

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       First, defendant clearly waived her right to bring these claims for ineffective

assistance of counsel. The waiver contained in defendant’s plea agreement provided that

defendant could appeal only if the Court varied upward from the applicable sentencing

guideline range or if the Government filed its own appeal, but neither of those

contingencies occurred in this case. The plea agreement also recognized that, under

United States v. Cockersham, 237 F.3d 1179, 1187 (10th Cir. 2001), defendant did not

waive the right to bring a Section 2255 claim for ineffective assistance of counsel

specifically challenging the validity of the plea or the waiver. Defendant has not

asserted in her petition, however, that her counsel was ineffective with respect to

negotiating or entering the plea or the specific waiver provision; rather, on their face, her

claims relate to the filing of an appeal, sentencing issues, and venue.1 Thus, the Court

concludes that the issues raised by defendant in her petition fall within the scope of her

waiver. See United States v. Viera, 674 F.3d 1214, 1217-19 (10th Cir. 2012) (issue of

failure to file appeal may be waived); Cockersham, 237 F.3d at 1188 (challenges relating

to sentencing may be waived); United States v. Allen, 24 F.3d 1180, 1183 (10th Cir.

1994) (issue of venue may be waived).

       Second, the Court concludes that defendant knowingly and voluntarily waived her

rights. In assessing the voluntariness of a defendant’s waiver, the Court looks primarily



       1
        In conclusorily alleging that counsel was ineffective in failing to challenge the
actual amount of loss and in underestimating the sentencing range, defendant has not
suggested that these alleged errors undermined the validity of the plea.

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to two factors—whether the language of the plea agreement stated that the defendant

entered the plea agreement knowingly and voluntarily and whether there was an

adequate Rule 11 colloquy. See United States v. Smith, 500 F.3d 1206, 1210-11 (10th

Cir. 2007). As set forth above, both factors were present here. Moreover, defendant has

not asserted in her petition that her plea was not knowing or voluntary.

       With respect to the third prong of the applicable analysis, enforcement of a waiver

results in a miscarriage of justice only if (1) the district court relied on an impermissible

factor such as race, (2) the defendant received ineffective assistance of counsel in

conjunction with the negotiation of the waiver, (3) the sentence exceeds the statutory

maximum, or (4) the waiver is otherwise unlawful in the sense that it suffers from error

that seriously affects the fairness, integrity, or public reputation of judicial proceedings.

See Hahn, 359 F.3d at 1327. Defendant has not argued any of these points, and the

Court concludes that enforcement of the waiver would not result in a miscarriage of

justice.

       Accordingly, the Government’s motion for enforcement of defendant’s waiver is

granted, and defendant’s Section 2255 petition is therefore dismissed.2



       III.    Certificate of Appealability



       2
        Because the motion and records of this case conclusively show that defendant is
not entitled to relief, the Court need not conduct a hearing on this matter. See 28 U.S.C.
§ 2255(b).

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       Effective December 1, 2009, Rule 11 of the Rules Governing Section 2255

Proceedings states that the Court must issue or deny a certificate of appealability when

it enters a final order adverse to the applicant. “A certificate of appealability may issue

. . . only if the applicant has made a substantial showing of the denial of a constitutional

right.” 28 U.S.C. § 2253(c)(2).3 To satisfy this standard, the petitioner must demonstrate

that “reasonable jurists would find the district court’s assessment of the constitutional

claims debatable or wrong.” See Saiz v. Ortiz, 393 F.3d 1166, 1171 n.3 (10th Cir. 2004)

(quoting Tennard v. Dretke, 542 U.S. 274, 282 (2004)). For the reasons stated above,

defendant has not made a substantial showing of the denial of a constitutional right; the

Court therefore denies a certificate of appealability.



       IT IS THEREFORE ORDERED BY THE COURT that the Government’s

motion to enforce defendant’s plea agreement (Doc. # 1507) is granted, and defendant’s

motion to vacate her sentence pursuant to 28 U.S.C. § 2255 (Doc. # 1500) is therefore

dismissed.


       IT IS SO ORDERED.


       Dated this 27th day of August, 2012, in Kansas City, Kansas.



       3
        The denial of a Section 2255 petition is not appealable unless a circuit justice or
a circuit or district judge issues a certificate of appealability. See Fed. R. App. P.
22(b)(1); 28 U.S.C. § 2253(c)(1).

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                                         s/ John W. Lungstrum
                                         John W. Lungstrum
                                         United States District Judge




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